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 1                                                THE HONORABLE RONALD B. LEIGHTON
 2

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 5

 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT TACOMA
 8   UNITED STATES OF AMERICA,                     )
                                                   )       No. CR07-5042RBL
 9                          Plaintiff,             )
                                                   )       MOTION AND AGREED ORDER
10           vs.                                   )       EXTENDING PRETRIAL
                                                   )       MOTIONS CUTOFF DATE
11   IBRAHIM JOZIN,                                )
                                                   )
12                          Defendant.             )
                                                   )
13

14                                               MOTION

15           COMES NOW the defendant, Ibrahim Jozin, by and through his attorney, Zenon P.

16   Olbertz for an Order extending his pretrial motions cutoff date, presently scheduled for June 15,
17   2007, as attorney Zenon P. Olbertz was recently appointed on June 13, 2007, two days prior to the
18
     previously scheduled pretrial motions cutoff date. Furthermore, it is the defendant’s
19
     understanding that discovery is not yet complete in this matter. The government has no objection
20
     to this motion.
21

22           RESPECTFULLY SUBMITTED this 15th day of June, 2007.

23
                                                                       LAW OFFICE OF
24                                                                 ZENON PETER OLBERTZ
                                                                   Attorney for Defendant
25
                                                                           /s/
26                                                                 By:___________________
                                                                      Zenon P. Olbertz
27                                                                    WSB #6080


     AGREED ORDER EXTENDING PRETRIAL MOTIONS                             Law Office of Zenon Peter Olbertz
                                                                          1008 So. Yakima Ave., Suite 302
     CUTOFF DATE - 1                                                            Tacoma, WA 98405
                                                                        (253) 272-9967/Fax: (253) 572-1441
          Case 3:07-cr-05042-RBL          Document 77        Filed 06/19/07         Page 2 of 3



 1                                 AGREED ORDER
 2          THIS MATTER having come on before the above-entitled Court upon the motion of
 3
     the defendant, Ibrahim Jozin, for an order allowing an extension of his pretrial motions cutoff
 4
     date, presently scheduled for June 15, 2007, to allow time for newly appointed counsel to
 5
     review the file, and further to allow for the completion of discovery; and the Court being in all
 6

 7   things fully advised; NOW THEREFORE, It Is Hereby

 8          ORDERED that the pretrial motions cutoff date presently scheduled for June 15, 2007,

 9   is hereby stricken. The pretrial motions cutoff date is rescheduled to June 29th 2007.



                                            A
10   IT IS SO ORDERED this 19th day of June 2007
11
                                           RONALD B. LEIGHTON
12                                         UNITED STATES DISTRICT JUDGE
13                                         Digitally Signed upon oral authorization (JAB)

14   Submitted by:

15     /s/
     _______________________________
16
     Zenon P. Olbertz, WSB #6080
17   Attorney for Ibrahim Jozin

18
       Approved: 6/18/07
19   _______________________________
     J. Tate London, WSB #18097
20   Assistant U.S. Attorney
21

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23

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     AGREED ORDER EXTENDING PRETRIAL MOTIONS                            Law Office of Zenon Peter Olbertz
                                                                         1008 So. Yakima Ave., Suite 302
     CUTOFF DATE - 2                                                           Tacoma, WA 98405
                                                                       (253) 272-9967/Fax: (253) 572-1441
          Case 3:07-cr-05042-RBL        Document 77       Filed 06/19/07         Page 3 of 3



 1                                  CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 18th, 2007, I electronically filed the foregoing Agreed
 3
     Order Extending Pretrial Motions Cutoff with the Clerk of the Court using the CM/ECF
 4

 5   system which will send notification of such filing to the following:

 6   J. Tate London
     Assistant United States Attorney
 7
     700 Stewart Street, Suite 5220
 8   Seattle, WA 98101-1271

 9          I hereby certify that on June 18th, 2007, I mailed the Agreed Order Extending
10
     Pretrial Motions Cutoff to the following:
11
     Ibrahim Jozin
12   Reg. #67841-065
13   Federal Detention Center
      At Sea-Tac
14   P.O. Box 13900
15
     Seattle, WA 98198

16          DATED this 18th day of June, 2007.
                                                       /s/
17                                               _______________________
18                                               Sarah M. Heckman
                                                 Legal Assistant
19

20

21

22

23

24

25

26

27


     AGREED ORDER EXTENDING PRETRIAL MOTIONS                         Law Office of Zenon Peter Olbertz
                                                                      1008 So. Yakima Ave., Suite 302
     CUTOFF DATE - 3                                                        Tacoma, WA 98405
                                                                    (253) 272-9967/Fax: (253) 572-1441
